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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


  CRYSTALLEX INTERNATIONAL CORP.,           )
                                            )
                  Plaintiff,                )
                                            )
        v.                                  )        Case No. 1:17-mc-00151-LPS
                                            )
  BOLIVARIAN REPUBLIC OF VENEZUELA,         )
                                            )
                  Defendant.                )
                                            )
  _______________________________________   )

        ANSWERING BRIEF OF THE VENEZUELA PARTIES REGARDING
   THE INCLUSION OF ADDITIONAL JUDGMENTS IN THE SALE PROCESS AND
        THE ISSUANCE OF UNCONDITIONAL ORDERS OF ATTACHMENT

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        Pursuant to this Court’s May 10, 2023 order, D.I. 559, the Venezuela Parties1 respectfully

 submit this answering brief regarding the inclusion of additional judgments in the sale process and

 the issuance of unconditional orders of attachment.

                                 PRELIMINARY STATEMENT

        For four reasons, the various opening briefs confirm that no other creditor at this time can

 satisfy the legal requirements to be included as an additional judgment in the sale process or to

 obtain an unconditional writ of attachment. First, Crystallex agrees with the Venezuela Parties that

 other creditors’ judgments cannot be added to the sale process unless they have a valid attachment

 against the PDVH shares, both because 8 Del. C. § 324 requires it and because doing otherwise

 would jeopardize an orderly sale process. The other creditors ignore this fundamental requirement

 and merely assume that they will be able to secure a valid attachment. Second, ConocoPhillips

 agrees with the Venezuela Parties that this assumption is wrong because Delaware law requires

 the seizure of the physical share certificate, as then-Judge (now Justice) LeGrow explained in her

 thorough opinion in Deng v. HK Xu Ding Co., No. N21J-04630-AML, 2023 WL 3318322 (Del.

 Super. Ct. May 8, 2023). No creditor other than Red Tree disputes this unambiguous requirement,

 and Red Tree fails to engage with, much less refute, the analysis in Deng. Third, only Siemens and

 Red Tree make passing attempts to argue that the Venezuela Parties are precluded from raising the

 non-seizure of the physical share certificate, and their arguments do not hold up to scrutiny.

 Siemens does not engage with the reasons why this Court’s 2021 judicial-estoppel ruling in

 Crystallex does not extend to other creditors, and Red Tree’s new preclusion arguments are

 meritless. Fourth, no creditor denies that if its judgment cannot be added to the sale process, then

 it cannot get an attachment under the plain terms of the license issued by OFAC.


 1
   Capitalized terms used but not defined herein have the meaning ascribed to them in the Court’s
 January 14, 2022 Order, D.I. 234, and the Sale Procedures Order, D.I. 481.


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                                            ARGUMENT

 I.      Under Delaware Law, This Court May Not At This Time Include Any Other
         Creditors’ Judgments As Additional Judgments In The Crystallex Sale Process.

         A.      Only The Judgments Of Creditors With Valid Attachments May Be Included
                 In The Sale Process.

         As the Venezuela Parties explained, a judgment creditor cannot obtain a court-ordered sale

 of shares under 8 Del. C. § 324 unless it first obtains a valid attachment against the shares. D.I.

 571 at 10-12. No creditor disputes this. In fact, Crystallex agrees, observing that “judgment

 creditors with actual attachments are the only creditors legally entitled to compel the sale of, or

 receive a distribution of proceeds from the sale of, the shares of PDVH” under “Delaware law.”

 D.I. 573 at 4; see id. at 9-15. As Crystallex explains, “Section 324(a) limits the sale to only ‘so

 many of the shares as shall be sufficient to satisfy the debt’ giving rise to the attachment and sale,”

 which means that “a judgment creditor must first obtain an attachment of shares in a Delaware

 corporation before compelling the sale of those shares at public auction.” Id. at 9-10 (cleaned up).

 Thus, as Crystallex concludes, “it would be inappropriate to add judgments to the Sale Process—

 and require a sale of sufficient shares to satisfy those judgments—if those judgment creditors are

 not legally entitled to a distribution of proceeds from a judicial sale because they have not yet

 satisfied the threshold requirement of attachment under Delaware law (and therefore Rule 69(a)).”

 Id. at 13 (internal citation omitted).

         Crystallex further recognizes that this framework is not only legally compelled, but also

 practically necessary for “an orderly Sale Process.” Id. As it observes, because the Special Master

 should only “sell as much stock as is necessary to satisfy the attached judgments,” he has

 emphasized that there “must be a date ‘when the writs of attachments would have to occur to be

 involved in the process’” in order for him “to determine the total sum of ‘Attached Judgments’

 that the sale must satisfy.” Id. (cleaned up). Moreover, Crystallex correctly anticipates that the


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 Venezuela Parties will “challenge any requirement that the sale satisfy judgments that are not yet

 entitled to a judicial sale of the shares of PDVH under Delaware law because they have not

 attached those shares,” id. at 14—a requirement that Crystallex agrees would violate Delaware

 law, id. at 9-13. Accordingly, as Crystallex explains, “recogniz[ing] as ‘Additional Judgments’

 judgments that have no present right to compel a judicial sale of the PDVH Shares under Delaware

 law … could jeopardize or further delay the Sale Process and create uncertainty that may depress

 bid prices.” Id. at 15.

         No other creditor engages with, much less, disputes this analysis. Instead, they assume that

 any attachments against the PDVH shares will be effective in light of OFAC’s May 1, 2023 license.

 See, e.g., D.I. 569 at 17. But that assumption is false for the reasons discussed next.

         B.      No Other Creditors Can Obtain A Valid Attachment On The PDVH Shares
                 Because The Physical Share Certificate Cannot Be Seized.

         1.      As the Venezuela Parties explained, none of the other creditors can obtain a valid

 attachment against the PDVH shares because mere service on PDVH does not seize the physical

 share certificate, as Delaware law requires. D.I. 571 at 12-15. ConocoPhillips agrees, explaining

 that the recent decision in Deng confirms that merely “serv[ing] the writ on” PDVH—as

 “Crystallex did”—“does not work to create a valid attachment.” D.I. 574 at 17. Rather, “[a]fter

 extensively analyzing the statutory history,” then-Judge LeGrow adopted the very interpretation

 that the Venezuela Parties have consistently urged—namely, “‘the statutory language requires that,

 to attach certificated shares of a corporation and obtain an order to sell the security to satisfy a

 judgment, the officer making the attachment must actually seize the certificate.’” Id. The absence

 of a physical certificate for the PDVH shares therefore not only precludes the “validity of any

 newly created attachments,” but creates a “very real prospect of Crystallex’s attachment being

 found defective” as well “for lack of physical seizure of the shares.” Id. at 17-18.



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        No other creditor seriously disagrees. At most, Red Tree breezily asserts that (1) “Delaware

 law preserves courts’ historical powers to attach shares in Delaware corporations via service of a

 writ (rather than by seizure of shares),” D.I. 566 at 9 n.5, and (2) this Court “may waive … the

 physical-seizure requirement where ‘there is no innocent purchaser to protect,’” id. at 10-11. Each

 of those arguments is foreclosed by Deng, the only Delaware decision to have addressed the issue.

 See 2023 WL 3318322, at *5. As Deng explained, any historical power to attach shares through

 service of the writ was eliminated by “the 1998 amendments to Section 324,” which require that

 “the officer making the attachment must actually seize the certificate.” Id. at *3. Indeed, the debtor

 in Deng “was served with the Writ of Attachment,” but that did not stop the court from vacating

 an order to sell the shares on the ground that “Delaware law requires physical seizure of a stock

 certificate before certificated shares may be attached and sold.” Id. at *1. And the court enforced

 the certificate-seizure requirement even though there was no risk that the shares there had been

 purchased by an innocent party, as “the certificate for those shares [was] in Chinese police

 custody.” Id. Red Tree does not even mention Deng, let alone try to grapple with its analysis. Nor

 does it cite any other Delaware decision supporting its theory.

        2.      The Venezuela Parties also demonstrated that this Court’s prior judicial-estoppel

 ruling as to Crystallex does not preclude them from raising the non-seizure of the certificate against

 other creditors, both because there is no irreconcilable inconsistency in positions vis-à-vis

 additional creditors and because applying judicial estoppel in these circumstances would

 inequitably confer a windfall on other creditors. D.I. 571 at 15-17. In any event, the estoppel issue

 is now moot because ConocoPhillips has also raised this objection. D.I 574 at 15-18. As

 ConocoPhillips explains, “[o]ther creditors are not subject to [any] waiver and estoppel disabilities

 affecting the Venezuela Parties” and can “argue that Crystallex’s attachment is defective in order




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 to dislodge Crystallex from its asserted priority position.” Id. at 17. Indeed, to preclude other

 creditors from advancing this argument based on PDVSA’s statements would be a clear due-

 process violation. See Richards v. Jefferson Cnty., 517 U.S. 793, 797-98 (1996) (“due process”

 requires that “a judgment or decree among parties to a lawsuit resolves issues as among them, but

 it does not conclude the rights of strangers to those proceedings”) (brackets omitted); see also,

 e.g., Knowlton v. Shaw, 704 F.3d 1, 10 (1st Cir. 2013) (refusing to apply judicial estoppel where

 “the party asserting the alleged ‘position’ [previously] and the parties here are not the same”).

        No other creditor seriously engages with this issue. Only Siemens invokes the Crystallex

 judicial-estoppel ruling, but it overlooks why that ruling cannot be extended here. See D.I. 569 at

 17-18. And while Red Tree offers two new preclusion arguments, D.I. 566 at 7-9, they lack merit.

        First, Red Tree contends that PDVSA should be judicially estopped from advancing the

 certificate-seizure argument for a different reason. According to Red Tree, PDVSA’s prior

 argument that “OFAC sanctions prohibit attaching the PDVH shares” was purportedly premised

 on the view that the attachment was valid despite the non-seizure of the certificate. Id. But

 PDVSA’s OFAC objection neither expressly nor implicitly asserted that any such writ of

 attachment would be valid. Rather, as PDVSA explained, OFAC regulations provide that “[u]nless

 licensed pursuant to this part, any attachment” against the PDVH shares “is null and void,”

 regardless of its state-law validity. 22-mc-68 D.I. 10 at 13 (quoting 31 C.F.R. § 591.202(e)); see

 id. at 12-13 (explaining that “the regulations bar the unlicensed … ‘enforcement of any … judicial

 process purporting to transfer” the shares (quoting 31 C.F.R. § 591.407) (emphasis altered)).

        Second, moving beyond judicial estoppel, Red Tree claims PDVSA should be precluded

 from advancing the certificate-seizure argument on the twin grounds of waiver and collateral

 estoppel. D.I. 566 at 7-8. Analogizing to this Court’s ruling that PDVSA was barred from moving




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 to quash Crystallex’s writ on the basis of Delaware alter-ego law, Red Tree contends that “[t]he

 identical issue—Red Tree’s entitlement to the writ—was actually litigated in Red Tree’s motion

 for a conditional attachment” and that PDVSA did not notify the Court at that time that it would

 later “seek to attack the validity of the writ on state law grounds.” Id. at 6-7; see D.I. 234 at 18-23,

 28-33. But this objection disregards a critical distinction between the procedural posture here and

 in the earlier Crystallex ruling.

         In Crystallex, the Delaware alter-ego issue called into question whether the writ of

 attachment should have been issued in the first place—because the shares are not the Republic’s

 property under Delaware law—and this Court held that it had definitively resolved that question

 when ordering that the writ should be issued and served, even though PDVSA had objected to

 issuance of the writ only on FSIA immunity grounds, not yet on the merits. D.I. 234 at 20. By

 contrast, the certificate-seizure issue was not a basis for PDVSA to object to mere issuance of the

 writ of attachment, as it pertains instead to whether the attachment has been validly “laid” pursuant

 to the writ, thereby allowing an “order of sale [to] issue.” 8 Del. C. § 324(a). In Deng, for example,

 then-Judge LeGrow did not hold that the “issu[ance]” and “service” of “the Writ of Attachment”

 were themselves invalid acts, but rather that “Delaware law requires physical seizure of a stock

 certificate before certificated shares may be attached and sold.” 2023 WL 3318322, at *1.

 Accordingly, a certificate-seizure objection is raised not “when the Court was evaluating [a]

 motion to issue and serve the writ of attachment,” D.I. 234 at 28, but after the writ has been served,

 see, e.g., Boyle v. Zacharie, 31 U.S. 635, 647 (1832) (observing that a debtor can challenge the

 effectiveness of a writ of attachment after the writ has been laid upon a garnishee and the garnishee

 pleads that it has no property that can be attached); Jolls v. Keegan, 55 A. 340 (Del. Super. 1901)

 (explaining that the central issue was whether an attachment was properly laid where, after




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 receiving the writ of attachment, the garnishee pled that he did not possess any property of the

 debtor). Resolving the certificate-seizure argument therefore was not “necessary to the decision”

 to grant Red Tree’s conditional writ of attachment—which this Court did not even permit the clerk

 to sign—nor was that “the proper time to have made these arguments.” D.I. 234 at 19, 28.

 Accordingly, neither collateral estoppel nor waiver are applicable here.

         3.      With no tenable argument on the merits or under preclusion principles, a few

 creditors ask this Court to order PDVSA “to request the reissuance of the certificate from PDVH.”

 E.g., D.I 574 at 19. But as the Venezuela Parties have explained, reissuing the certificate would

 require an additional license from OFAC. D.I. 571 at 15 n.2. No creditor even addresses that issue,

 much less denies the existing license is insufficient. First, the existing license permits only those

 steps “ordinarily incident and necessary to the issuance and service of a writ of attachment fieri

 facias.” D.I. 555 at 8. Again, though, the existence of a certificate has nothing to do with whether

 a writ of attachment can be issued and served, but rather bears on whether the resulting attachment

 is itself effective. See supra at 6. At a minimum, the unusual step of reissuing a certificate is not an

 “ordinar[y]” part of the service process. D.I. 555 at 8. Second, the process for reissuing the shares

 would require the participation of entities that are not covered by the existing license. As

 ConocoPhillips recognizes, the reissuance process would “requir[e] PDVSA” to “‘apply to the

 Court of Chancery for an order requiring’” “the reissuance of the certificate from PDVH.” D.I.

 574 at 18-19 (quoting 8 Del. C. § 168(a)). OFAC’s existing license, however, does not cover the

 actions of PDVSA, PDVH, or the Delaware Court of Chancery. Rather, it extends only to “the

 Clerk of the Court for the United States District Court, District of Delaware (the ‘Court’), agents

 and/or contractors of the Court, and Additional Judgment Creditors.” D.I. 555 at 8. Accordingly,




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 absent an OFAC license, participating in the process to reissue the certificate would require the

 Venezuela Parties and state judicial officers to violate federal law.

        In all events, even setting aside OFAC’s regulatory regime, any creditor seeking to take

 advantage of the certificate-reissuance process still would have to post the requisite bond, as the

 Venezuela Parties have explained. See 8 Del. C. § 168(b); D.I. 571 at 15 n.2. Every creditor

 overlooks this requirement except for Red Tree, which erroneously contends that this Court may

 excuse the bond requirement “because the only proper owner of the PDVH shares is PDVSA.”

 D.I. 566 at 9 n.6. Red Tree offers no authority for dispensing with the bond requirement on that

 basis. “[U]nder § 168, the Court is required to order a bond in a sum sufficient to indemnify”

 PDVH “against any claim made against it ‘on account of the alleged loss, theft or destruction’ of

 the missing certificates.” Cory v. Tampax Inc., No. CIV.A. 3791, 1976 WL 1707, at *5 (Del. Ch.

 Apr. 30, 1976) (emphasis added). And in the related context of 8 Del. C. § 167, Delaware law is

 clear that while corporate “[m]anagement may or may not require the posting of a bond … the

 courts lack the power to dispense with that requirement against the corporation’s will.” Mastellone

 v. Argo Oil Corp., 46 82 A.2d 379, 383 (Del. 1951); accord Cory, 1976 WL 1707, at *5; Graham

 v. Com. Credit Co., A.2d 863, 866 (Del. Ch. 1963), aff’d, 200 A.2d 828 (Del. 1964). In any event,

 waiving the bond requirement here would be unwarranted. PDVH should not compelled to cancel

 the physical certificate without the protection of a bond, given the uncertainty about what the rogue

 Maduro regime may have purported to do with the shares and the risk of future claims that could

 be raised by a putative purchaser of those shares in possession of the physical certificate.2


 2
   Given the lack of a physical certificate, the purported writ of attachment that Refineria Di Korsou
 N.V. (“RDK”) recently obtained in Delaware state court to enforce a New York state judgment,
 D.I. 564 at 7-8, is not a valid basis to add RDK to the sale process. Moreover, there are multiple
 other flaws with RDK’s request to be added. Most fundamentally, this Court’s jurisdiction is
 limited to enforcing federal judgments, and 28 U.S.C. § 1963 does not authorize registering state
 judgments. See Mobil Cerro Negro, Ltd. v. Bolivarian Republic of Venez., 863 F.3d 96, 122-23


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 II.    Under OFAC’s Regulations And License Restrictions, This Court May Not At This
        Time Issue Unconditional Writs Of Attachment To Any Other Creditors.

        As the Venezuela Parties explained, under the OFAC license, a condition on the clerk’s

 issuance of an unconditional writ of attachment to a creditor is the creditor being included as an

 “Additional Judgment Creditor” under the SPO. D.I. 571 at 18. No creditor disagrees with that.

 Rather, the creditors merely assume that this Court can lawfully include them as “Additional

 Judgment Creditor[s]” at this time. Because that assumption is false, see supra Pt. I, it is effectively

 undisputed that no unconditional writs of attachments can be issued.

        All of that is true notwithstanding the assertion by Siemens that this Court can dispense

 with the service of any additional writs of attachment. D.I. 569 at 18-20. Because the writs of

 attachment cannot even be issued under the existing license, whether the writs can be served is

 immaterial. In any event, Siemens provides no authority for its position that this Court can waive

 service of the writ, which is a transparent attempt to avoid priority issues. Indeed, to do so would

 deprive the Venezuela Parties of their right to answer the writs under Delaware law. See 8 Del. C.

 § 324. While the Venezuela Parties take no position at this time on the priority of additional

 judgments, this Court cannot deprive them of their statutory rights in order to avoid some of the

 difficulties associated with the novel and complicated priority issues here. See D.I. 571 at 20.




 (2d Cir. 2017). In addition, PDVSA will soon be moving in New York to vacate RDK’s underlying
 default judgment as void, including for ineffective service of process and lack of subject-matter
 and personal jurisdiction under the FSIA. Finally, PDVSA is also preparing to file a motion to
 quash RDK’s Delaware state-court writ, including because it is based on a void judgment, is itself
 void due to lack of an applicable OFAC license, and also violates numerous Delaware-law
 requirements. See PDVH’s Verified Ans. & Ltr. to Margaret F. England, No. N23J-01330 (Del.
 Super. Ct. May 30 & 31, 2023).


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 III.   With Respect To The Alter-Ego Creditors, The Third Circuit’s Stay Independently
        Bars This Court At This Time From Issuing Unconditional Writs Of Attachment Or
        Adding Their Judgments To The Sale Process In Crystallex.

        As the Venezuela Parties explained, the alter-ego creditors are not entitled to any further

 relief at this time for the independent reason that their own attachment cases have been stayed by

 the Third Circuit. D.I. 571 at 19-20. Both Crystallex and Siemens agree. D.I. 569 at 10-11, 15-16;

 D.I. 573 at 4-5. As Siemens explains, “[u]ntil the stay is lifted, the Court is prohibited from

 authorizing the issuance and service of writs of attachment in favor of the Alter Ego Creditors,”

 and in any event, “the Court should not recognize the Alter Ego Creditors’ judgments as Additional

 Judgments” in light of “the uncertainty as to if/when the stay will be lifted and how the appeals

 will be resolved.” D.I. 569 at 16. It would make no sense, Siemens observes, to allow the alter-ego

 creditors to participate in the sale process when they “may ultimately not be permitted in the sale.”

 Id. And it would be even more improper to allow the four creditors who do not have a conditional-

 attachment order (Contrarian, Tidewater, Valores, and Banco San Juan) to participate.3

        The alter-ego creditors say nothing to the contrary. They simply assume that the stay will

 be lifted and they will prevail on appeal. See, e.g., 19-mc-290 D.I. 154 at 6. This Court, however,

 cannot make judicial decisions based on such rank speculation.

                                          CONCLUSION

        The Venezuela Parties respectfully submit that, at this time, this Court may not lawfully

 include any additional judgments in the sale process or issue any unconditional writs of attachment

 to additional creditors.


 3
   Banco San Juan (“BSJ”) does not even have a U.S. judgment. This Court recently granted
 PDVSA’s motion to dismiss BSJ’s complaint on venue grounds and transferred that case to the
 D.C. District Court for adjudication of PDVSA’s dispositive defenses. See Order, Banco San Juan
 Int’l Inc. v. Petroleos de Venezuela, S.A., No. 1:22-cv-01315 [D.I. 31] (D. Del. Apr. 4, 2023).
 Unless and until BSJ obtains a federal-court judgment, it cannot seek any attachment or execution
 of PDVSA’s property. See 28 U.S.C. §§ 1609, 1610(c)-(d).


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 RESPECTFULLY SUBMITTED,

 June 7, 2023

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